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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                      GOVERNMENT’S SUPPLEMENTAL RESPONSE
                         TO STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, files this

  pleading to supplement prior responses (ECF Nos. 30, 59, 80, 92, 113, 122, 143, 172, 184, 190,

  199, 204, 235, 253, 273, 291, 330) to the Standard Discovery Order, issued on June 13, 2023 (ECF

  No. 16). This pleading complies with Local Rule 88.10 and Federal Rule of Criminal Procedure

  16.

         Per the protective order issued in this case (ECF No. 27), the Government has provided

  twelve prior productions of unclassified discovery to Defendants Donald J. Trump, Waltine Nauta,

  and Carlos De Oliveira.    See ECF Nos. 30, 59, 80, 92, 113, 122, 143, 172, 184, 235, 253, 273,

  291, 330. On March 4, 2024, the Government provided a thirteenth production of unclassified

  discovery to counsel for Defendants (“Production 13”).   Production 13 consists of approximately
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  78 pages and includes two items: (1) the warrant application for an account associated with

  Defendant Nauta,1 and (2) memorialization of an interview conducted on February 9, 2024.

         The Government responds to the specific items identified in the standing discovery order

  as set forth below.

         B.      DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
                 disclosure and production of those items described and listed in paragraph B of the
                 Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
                 16(b).

         C.      The Government is providing information or material known to the United States
                 that may be favorable to either defendant on the issues of guilt or punishment within
                 the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
                 U.S. 97 (1976).

         D.      The Government has disclosed and will continue to disclose any payments,
                 promises of immunity, leniency, preferential treatment, or other inducements made
                 to prospective Government witnesses, within the scope of Giglio v. United States,
                 405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

         J.      The Government’s discovery productions include the grand jury testimony and
                 recordings of witnesses who may testify for the Government at the trial of this case.

         The Government is aware of its continuing duty to disclose newly discovered additional

  information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal

  Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.



                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
                                                Jay I. Bratt

  1
    A redacted version is available online, see ECF No. 359 at 7 n.1 (citing In re Sealed Search
  Warrant, No. 9:22-mj-08550-BER (Aug. 28, 2023)), but the unredacted version was inadvertently
  not previously produced in discovery. The search warrant returns and property receipt were
  previously produced in discovery.


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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 4, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing generated

  by CM/ECF.



                                               /s/ Julie A. Edelstein
                                               Julie A. Edelstein
                                               Senior Assistant Special Counsel




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